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                      IN THE UNITED STATES DISTRICT
                     COURT FOR THE MIDDLE DISTRICT
                        OF FLORIDA TAMPA DIVISION

                           Case No. 8:22-cv-02227-SDM-SPF

  PROCCOR PHARMACEUTICALS, INC.,

                     Plaintiff,

  v.

  WORLD HEALTH PRODUCTS, LLC dba
  GAT SPORT and VITAMIN SHOPPE
  INDUSTRIES LLC dba THE VITAMIN
  SHOPPE,

                     Defendants.
                                                /

  PLAINTIFF’S PARTIALLY UNOPPOSED MOTION FOR LEAVE TO
   FILE A REPLY IN RESPONSE TO DEFENDANT’S OPPOSITION
   [DOC. 119] TO PLAINTIFF MOTION TO AMEND PRAYER FOR
                       RELIEF [DOC 110]

        Plaintiff, Proccor Pharmaceuticals, Inc. (“Plaintiff’) respectfully requests,

  pursuant to Local Rule 3.01(d), that the Court grant it leave to file a reply to the

  Opposition (Doc. 119) filed by Defendants, World Health Products, LLC d/b/a

  GAT Sport and Vitamin Shoppe Industries, LLC d/b/a The Vitamin Shoppe

  (collectively, “Defendants”), in response to the Plaintiff’s motion to amend prayer

  for relief. [Doc 110].

        A reply is necessary because the Opposition [Doc. 119] presents new legal


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  arguments, new legal issues and new alleged facts which are not raised in the

  Motion [Doc 110]. Plaintiff requests leave to file a concise reply brief of up to

  seven (7) pages, as permitted by Local Rule 3.01(d), which is less than half the

  length of the Opposition filed by the Defendants, to be filed within 7 days of being

  granted leave to do so.


                            MEMORANDUM OF LAW

        A reply is needed and appropriate. The Motion seeks merely to add

  clarifying language to Plaintiff’s demand for damages measured by a reasonable

  royalty in three of the prayers for relief of the Second Amended Complaint. The

  Defendants’ Opposition does not simply respond to that issue. It also raises many

  new alleged facts and legal arguments regarding whether Plaintiff is using a flavor

  as a trademark and whether Plaintiff has a protectible trademark. [Doc. 119 at pp.

  3, 17-20] Defendants have made extensive arguments on those issues and

  purported to support the arguments with alleged facts. Moreover, Defendants

  Opposition went far beyond responding to cases cited by Plaintiff in its Motion

  and Memorandum and introduced substantial additional case law.             A reply

  responding to these new factual and legal arguments would assist the court in

  reviewing and deciding the Motion. Under these circumstances there is good cause

  to permit Plaintiff to file a reply. Montgomery Bank, N.A. v. Alico Road Business

  Park, LP, No. 2:13-cv-802-FtM-29CM, 2014 WL 3828406 *3 (M.D. Fla. August

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  10. 2014) (finding good cause to permit the filing of a reply where it would benefit

  the court’s review of the pending motion and the opposing party’s response

  appeared to raise new arguments and law.)

        For these reasons Plaintiff requests leave to file a seven (7) page reply to

  Defendants’ Opposition [Doc. 119], to be filed within 7 days of an Order granting

  Plaintiff leave to file a Reply.

                         LOCAL RULE 3.01(g) CERTIFICATION

 I certify that I conferred with counsel for the Defendants Andrew Lockton

 regarding the relief sought in this motion by email and that he has authorized me to

 represent the following concerning Plaintiff’s request for leave to file a Reply:

 “While Defendants do not believe this [addressing Defendants’ argument that

 Freedom Pop is only a flavor and that it is not a trademark] constitutes new facts or

 arguments which could not have been addressed in the Motion, Defendants will not

 file an opposition to the request for a three (3) page reply limited to this issue.”

  Dated: July 13, 2023

                            By:       /s/ G. Donovan Conwell, Jr.
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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 13th day of July 2023, I electronically
 filed a true and correct copy of the foregoing document with the Clerk of the Court
 using CM/ECF, which will send an Electronic Mail notification of same to all
 counsel of record.


                          /s/ G. Donovan Conwell, Jr.
                          G. Donovan Conwell, Jr.




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